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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

 DIANNE DORMAN,                                     §
                                                    §
             Plaintiff,                             §
                                                    §
 v.                                                 §     CIVIL ACTION NO. 4:19-cv-00592-Y
                                                    §
 PHH MORTGAGE CORPORATION                           §
 AND DEUTSCHE BANK NATIONAL                         §
 TRUST COMPANY, AS TRUSTEE FOR                      §
 SECURITIZED ASSET BACKED                           §
 RECEIVABLES LLC TRUST 2007-NC1,                    §
 MORTGAGE PASS-THROUGH                              §
 CERTIFICATES, SERIES 2007-NC1                      §
 AND DEUTSCHE BANK SECURITIES                       §
 INC.,                                              §
                                                    §
             Defendants.                            §


                          JOINT REPORT ON SETTLEMENT CONFERENCE

            On March 3, 2021, the Parties attempted settlement conference with Magistrate Judge Hal

Ray via telephone.

      I.       Present at the attempted settlement conference were:

            1. Dianne Dorman, Plaintiff;

            2. Joshua D. Gordon, Plaintiff’s counsel;

            3. Kyle A. Owens, Defendants’ counsel; and

            4. Benjamin Verdooren, Defendants’ representative.

      II.      Plaintiff, although present on the phone, was ill and under medication. Due to her

               medical condition (including heavy and constant coughing in what Plaintiff describes

               as Covid-pneumonia) and medication, Plaintiff informed her counsel that she was

               unable to proceed with the settlement conference.


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III.   Plaintiff was unable to provide her counsel with an estimated timeline for her recovery

       and may be unable to participate in a settlement conference for the foreseeable future.

IV.    The Parties unsuccessfully mediated this case on December 3, 2020. Since that

       mediation, the Parties have had numerous informal settlement discussions. While it is

       possible that a settlement conference could be helpful where mediation and informal

       efforts have failed, that is questionable and it appears that the Parties will be unable to

       convene for a settlement conference anytime soon due to Plaintiff’s status.

V.     In light of the foregoing, the Parties would respectfully request that the Court rule upon

       Defendants’ pending Motion for Summary Judgment.



                                                  Respectfully submitted,

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                                       AND

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